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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-00337-WJM-KMT

   CHRISTOPHER P. SWEENEY, and
   NIKOLE M. SWEENEY,

   Plaintiffs,

   vs.

   CITY OF COLORADO SPRINGS, COLORADO
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC

   Defendants.


     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ STETSON HILLS MASTER HOME
     OWNERS ASSOCIATION, INC. AND DIVERSIFIED PROPERTY MANAGEMENT,
         LLC’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)


           Plaintiffs Christopher P. Sweeney and Nikole M. Sweeney, by and through undersigned

   counsel, submit the following Plaintiffs’ Response to Defendants’ Stetson Hills Master Home

   Owners Association, Inc. and Diversified Property Management LLC’s Motion to Dismiss

   Pursuant to Fed. R. Civ. P. 12(b)(6):

                                           LEGAL STANDARD

           A court’s “function on a Rule 12(b)(6) motion is not to weigh potential evidence that

    parties may present at trial, but to assess whether the plaintiff’s complaint alone is legally

    sufficient to state a claim for which relief may be granted.” Miller v. Glanz, 948 F.2d 1562,

    1565 (10th Cir. 1991). When assessing a motion to dismiss under Rule 12(b)(6), it is

    important to take into account that “the Federal Rules of Civil Procedure erect a powerful

    presumption against rejecting pleadings for failure to state a claim.” Maez v. Mountain States
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    Tel. & Tel., 54 F.3d 1488, 1496 (10th Cir. 2005).

          To “survive a motion to dismiss, a complaint must contain sufficient factual matter,

    accepted as true, to state a claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556

    U.S. 662, 678 (2009). In order to establish that a claim is facially plausible, a plaintiff must

    plead “factual content that allows the court to draw the reasonable inference that the

    defendant is liable for the misconduct alleged.” Id. Although a complaint “requires more than

    labels and conclusions” or the “formulaic recitation of the elements of a cause of action,” a

    complaint attacked by a Rule 12(b)(6) motion does not need to contain “detailed factual

    allegations.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rather, a plaintiff’s

    complaint need only contain enough factual allegations to rise their “right to relief above the

    speculative level.” Id.

          A plaintiff need not establish a prima facie case in their complaint to withstand a

    motion to dismiss under Rule 12(b)(6). Instead, the elements associated with a prima facie

    case are simply used by the court to “help determine whether [p]laintiff has set forth a

    plausible claim.” Khalik v. United Air Lines, 671 F.3d 1188, 1192 (10th Cir. 2012); see also

    Sylvia v. Wisler, 875 F.3d 1307, 1313 (10th Cir. 2017) (“[T]he Rule 12(b)(6) standard doesn’t

    require a plaintiff to set forth a prima facie case for each element”) (internal quotations

    omitted).

                                               ARGUMENT

          Under the Fair Housing Act (“FHA”), housing providers, including but not limited to

   homeowners associations, are “prohibited from refusing to make ‘reasonable accommodations in

   the rules, policies, or services when such an accommodation may be necessary to afford a

   [handicapped] person an equal opportunity to use and enjoy a dwelling.’” Arnal v. Aspen View
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   Condo. Ass’n, 2016 U.S. Dist. LEXIS 24523, at *5-6 (D. Colo. Feb. 29, 2016) (quoting 42

   U.S.C. § 3604(f)(3)(B)); see also Smith v. Cedars, Inc., 2013 U.S. Dist. LEXIS 155221 (D. Utah.

   Oct. 29, 2013) (imposing the FHA’s reasonable accommodation provisions on homeowners

   associations); Bangerter v. Orem City Corp., 46 F.3d 1491, at 1502 (10th Cir. 1995) (explaining

   that a reasonable accommodation “involves changing some rule that is generally applicable so as

   to make its burden less onerous on the handicapped individual”).

          To establish a claim of discrimination under the FHA for failure to accommodate, a

   plaintiff must show: “(1) that the plaintiff or his associate is handicapped as defined by the FHA;

   (2) that the defendant knew or reasonably should have known of the claimed handicap; (3) that

   accommodation of the handicap may be necessary to afford the handicapped person an equal

   opportunity to use and enjoy the dwelling; (4) that the accommodation is reasonable; and (5) that

   defendants refused to make such accommodation.” Arnal v. Aspen View Condo. Ass’n, 226 F.

   Supp. 3d. 1177, 1183 (D. Colo. 2016) (citations omitted).

          Here, Defendants solely maintain that Plaintiffs’ First Amended Complaint (“FAC”)

   should be dismissed because the requested accommodation, as pled, was: (A) not reasonable and

   (B) not necessary to afford Plaintiffs an equal opportunity to use and enjoy their home. See

   Defendants’ Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) at 5-10. As the following

   sections demonstrate, however, Plaintiffs have undoubtedly pled sufficient facts to satisfy these

   elements and therefore have stated a claim for which relief can be granted.

      A. Plaintiffs’ Requested Accommodation Was Reasonable.

          Under the FHA, an accommodation is considered reasonable when “it imposes no

   fundamental alteration in the nature of the program or undue financial or administrative

   burdens.” Id. at 1185-86; see also Sabal Palm Condos. of Pine Island Ridge Ass’n v. Fischer,
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   2014 U.S. Dist. LEXIS 32705, at *46 (S.D. Fla. March 13, 2014) (explaining that a requested

   accommodation will not be reasonable when it requires the defendant to alter the “essential

   nature” of their operations) (citing Schwarz v. City of Treasure Island, 544 F.3d 1201, 1220

   (11th Cir. 2008) (explaining that a “proposed accommodation amounts to a 'fundamental

   alteration' if it would eliminate an essential aspect of the relevant activity”)); see also PGA Tour,

   Inc. v. Martin, 532 U.S. 661, 689 (1999) (holding that where a rule is peripheral to the nature of

   defendant’s activities, “it may be waived without working a fundamental alteration”).

   Nevertheless, the defendant is obligated to “incur reasonable costs and take modest, affirmative

   steps to accommodate the handicapped.” Tsombanidis v. W. Haven. Fire Dep’t, 352 F.3d 565,

   578 (2d Cir. 2003); see also Giebeler v. M&B Assoc., 343 F.3d 1143, 1152 (9th Cir. 2003)

   (“Accommodations need not be free of all possible costs […]”).

          Determining whether an accommodation is reasonable is a highly fact-specific inquiry

   that must be made on a case-by-case basis. See Arnal v. Aspen View Condo. Ass’n, 2016 U.S.

   Dist. LEXIS 24523, at *18 (D. Colo. Feb. 29, 2016). Accordingly, courts have often held that

   the determination of whether an accommodation is “reasonable” is generally not proper at the

   motion to dismiss stage where virtually no evidentiary record has been developed. See

   Austin v. Town of Farmington, 826 F.3d 622, 630 (2d Cir. June 21, 2016); see also Perez v.

   Cambeyro, 2015 U.S. Dist. LEXIS 175721, at *13 (S.D. Fla. Sept. 1, 2015) (explaining that the

   “reasonableness determination under the FHA require a factual inquiry not appropriate at the

   motion to dismiss stage”). Instead, at this stage of the litigation, a plaintiff need only allege facts

   which indicate that the requested accommodation was possible. See Giebeler, 343 F.3d at 1156;

   see also White v. York Int’l Corp., 45 F.3d 357, 361 (10th Cir. 1995) (“Once the plaintiff

   produces sufficient evidence to make a facial showing that [the] accommodation is possible, the
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   burden of production shifts to the employer to present evidence of its inability to

   accommodate”).

          i.      Plainitffs’ FAC Contains Sufficient Factual Matter To Indicate That The
                  Requested Accommodation Was Reasonable for Purposes Of A Motion To
                  Dismiss.

          Here, Plainitffs’ FAC clearly alleges facts which indicate that the requested

   accommodation would have been possible. Most importantly, Plainitffs’ allege that Defendants

   have already made multiple other modifications to its street-side parking covenants over the last

   several years. See Plaintiffs’ First Amended Complaint at ¶¶ 75-78; 84-85. Since Defendants

   have already made similar types of changes to its street-side parking covenants in recent years, it

   is apparent that, at the very least, Plainitffs’ requested accommodation was possible. Id.

          Moreover, there is no indication from Plainitffs’ allegations that the requested

   accommodation would have imposed any substantial financial or administrative burden on

   Defendants or would have required a fundamental alteration to Defendants’ operations. As

   Plainitffs’ FAC makes evident, Defendants already have a system for enforcing its street-side

   parking covenants. See Plaintiffs’ First Amended Complaint at ¶¶ 6; 37. Accordingly, it is

   hard to imagine how Plainitffs’ requested accommodation would have imposed any additional

   financial or administrative burdens on Defendants.1

       Similarly, Plaintiffs’ FAC is void of any allegations that would suggest that the requested

   accommodation would require Defendants to fundamentally alter their operations and/or

   activities. Defendants, as a homeowners association, have the primary purpose of providing

   housing and housing-related services. See Plaintiffs’ First Amended Complaint at ¶¶ 22-23.


   1
    Defendants’ also failed to provide any explanation as to why and/or how the requested accommodation
   would impose an undue financial or administrative burden.
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   Here, there is no indication that requiring residents to park in the street, to the extent that they

   would otherwise block the sidewalks, would fundamentally alter Defendants’ operations since

   this would not affect their ability to offer housing and housing-related services. See Sabal Palm

   Condos. of Pine Island Ridge Ass’n v. Fischer, 2014 U.S. Dist. LEXIS 32705, at *46-47 (S.D.

   Fla. March 13, 2014).

           ii.     Defendants Failed To Demonstrate Why The Request Accommodation Was
                   Unreasonable Based On The Allegations Contained In Plaintiffs’ FAC And The
                   Governing Case Law.

       Defendants contend that the requested accommodation was nevertheless unreasonable

   because they claim: (1) that they do not have the power to force HOA members to park in the

   street and (2) that forcing other HOA members to park in the street would impose additional

   “burdens” on such members. See Defendants’ Motion to Dismiss Pursuant to Fed. R. Civ. P.

   12(b)(6) at 5-8. These arguments however, are not supported by the allegations submitted in the

   complaint and/or by any governing case law.

           For example, and contrary to the argument presented by Defendants, see id. at 5-6, the

   facts as alleged in Plainitffs’ FAC make clear that the HOA had the power to exert control over

   where its members parked. See Plaintiffs’ First Amended Complaint at ¶¶ 6, 37-38 (“[…] the

   HOA maintains and enforces covenants (“street-side parking covenants”) the effectively require

   and/or encourage residents to park in their driveway”). The mere fact that Defendants do not

   control the sidewalks does not alter this conclusion.

       Additionally, the mere fact that an HOA member’s rights and/or obligations are altered by a

   reasonable accommodation does not necessarily lead to the conclusion that requested




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   accommodation was unreasonable, as Defendants’ suggest. 2 See Defendants’ Motion to

   Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) at 7; see, e.g. Haws v. Norman, 2017 U.S. Dist.

   LEXIS 154589, at *18-20 (D. Utah Sept. 20, 2017) (rejecting defendant’s argument that the

   plaintiff’s accommodation request was inherently unreasonable “because it would force

   roommates” to live with the plaintiff’s service animal “within the intimate confines of the

   common living spaces of the apartment” and because each roommate entered into “no-pet

   leases” with the defendant); see also Gittleman v. Woodhaven Condo. Ass’n, 972 F. Supp. 894,

   898 (D.N.J. 1997) (rejecting the argument made by the defendant that “assigning [the plaintiff]

   an exclusive parking space would alter the other tenants’ rights to use the common area” and

   therefore constitute an unreasonable accommodation request). This is particularly true in the

   instant case, where HOA members already have a legal obligation not to park their vehicles in a

   manner that blocks and/or obstructs the sidewalks. 3 See Plaintiffs’ First Amended Complaint

   at ¶¶ 10, 66, 112, 145.4




   2
     At the outset, it should be noted that Plaintiffs’ requested accommodation would not require every other
   member of the HOA to alter their behavior. As alleged in Plaintiffs’ FAC, the requested accommodation
   would only impact HOA members to the extent that their vehicles would otherwise block and/or obstruct
   the sidewalks.
   3
     That Plainitffs’ requested accommodation would also have the effect of encouraging HOA members to
   comply with local ordinances in no way detracts from the reasonableness of the request, as Defendants’
   suggest. See Defendants’ Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) at 7.
   4
    Defendants’ motion erroneously argues that Plainitffs’ requested accommodation would force
   Defendants to change how they enforce their covenants. While Defendants claim that the requested
   accommodation “could lead to an obligation on the part of [the] Defendants to fine homeowners or tow a
   non-compliant vehicle from the owner’s property,” such assertion is wholly speculative and not supported
   by the allegations contained in Plainitffs’ FAC.

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           In light of facts contained in Plainitffs’ FAC, and Defendants’ inadequate and

   unsubstantial arguments, it is evident that Plaintiffs’ have sufficiently pled that the requested

   accommodation was reasonable.

      B. Plaintiffs’ Accommodation Was “Necessary.”

           In addition to being “reasonable,” the FHA requires that the requested accommodation

   must have also been necessary to provide a plaintiff with an equal opportunity to enjoy his

   dwelling. Courts have held that in order to be “necessary,” there must be an “identifiable

   relationship, or nexus, between the requested accommodation and the individual’s disability.”

   Arnal, 2016 U.S. Dist. LEXIS 24523 at *9. That is, the accommodation sought must

   “affirmatively enhance a disabled plaintiff’s quality of life by ameliorating the effects of the

   disability.” Quad Enter. Co., LLC v. Town of Southold, 369 Fed. Appx. 202, 207-208 (2d Cir.

   2010) (citing Bronk v. Ineichen, 54 F.3d 425, 429 (7th Cir. 1995)); see also Arnal, 226 F.Supp. at

   1185.

           Here, Plaintiffs’ have indisputably alleged that the requested accommodation will

   affirmatively enhance Mr. Sweeney’s quality of life by ameliorating the effects of his disability.

   For example, Plainitffs’ FAC indicates that without the requested accommodation, Mr. Sweeney

   has been denied the ability to use the sidewalks in the same way as those who do not have

   mobility disabilities. When also considering that the requested accommodation would improve

   his quality of life by providing him “access many of the services and facilities that are made

   available by the City,” including but not limited to City “bus stops, mail boxes, and parks,” it is

   evident that the accommodation sought was and is necessary to provide Mr. Sweeney with an

   equal opportunity to enjoy his dwelling.



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          Similarly, Plaintiffs’ FAC alleges that due to Mr. Sweeney’s disability, and Defendants’

   failure to grant his requested accommodation, he has uniquely been prevented from using many

   of the services, benefits, and/or privileges associated with being a member of the HOA. Because

   Plaintiffs’ have alleged that the requested accommodation would ameliorate the effects of Mr.

   Sweeney’s disability to the extent it would provide him access to the HOA’s services, benefits,

   and/or privileges, it is evident that the requested accommodation is “necessary.”

          Defendants, however, claim that Plainitffs’ requested accommodation would not be

   “necessary” under the FHA because “he fails to state why the inability to use the sidewalk would

   be any different for him than another person attempting to use the sidewalk […]” This claim is

   patently false and contrary to the allegations articulated in Plaintiffs’ FAC, which clearly indicate

   Mr. Sweeney’s inability to use the sidewalks in his community is a “unique burden not faced by

   HOA members without mobility disabilities.”

          Because Plainitffs’ have alleged facts which demonstrate that the requested

   accommodation was necessary to provide a Mr. Sweeney with an equal opportunity to enjoy his

   dwelling, and in light of the fat that Defendants’ argument is without any merit, Plaintiffs’ urge

   this Court to deny Defendants’ Motion to dismiss.

                                                CONCLUSION

          For the foregoing reasons, Plaintiffs’ respectfully request that this Court deny

   Defendants’ Motion to Dismiss in its entirety.

          DATED May 16, 2018

                                         /s/ Julian G.G. Wolfson
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                                     CERTFICATE OF SERVICE

    I hereby certify that on this 16th day of May, 2018, the foregoing, PLAINTIFFS’ RESPONSE
    TO DEFENDANTS’ STETSON HILLS MASTER HOME OWNERS ASSOCIATION,
    INC. AND DIVERSIFIED PROPERTY MANAGEMENT, LLC’S MOTION TO DISMISS
    PURSUANT TO FED. R. CIV. P. 12(b)(6) was served on the following individuals:



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